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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                        8/30/2021


In re:
                                                                       03-MD-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                    ORDER

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SARAH NETBURN, United States Magistrate Judge:

         The Court has reviewed the declarations submitted regarding the breach of the Protective

Orders. Based on that review, the Court orders that supplemental declarations and additional

declarations be filed.

    A. Kreindler & Kreindler

         The four attorneys from Kreindler & Kreindler identified in the Court’s Order at ECF No.

7011 are directed to file supplemental declarations that:

             1. identify all communications with Michael Isikoff or anyone acting on his behalf,
                whether oral or written, from June 1, 2021, to August 1, 2021. Any written
                communication must be provided to the Court;

             2. declare whether they have ever discussed the contents of the Musaed Al Jarrah
                deposition with Michael Isikoff or anyone acting on his behalf. Any
                communication must be described in detail, including whether portions of the
                transcript were read or testimony was described;

             3. state every person with whom they shared the Al Jarrah deposition transcript who
                has not already supplied the Court with a declaration in this investigation; and

             4. state every person that they know had access to the deposition transcripts who has
                not already supplied a declaration in this investigation.

         At least one of these declarations must describe, in detail, the firm’s internal investigation

that was undertaken in response to the breach of the Protective Orders.
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   In addition, the Court orders that the following additional declarations be provided:

      1. a declaration from any party identified in the supplemental declarations described
         above employed by or acting at the direction of Kreindler & Kreindler. This shall
         include the paralegal identified in Paragraph Four of the Megan Wolfe Benett
         Declaration, ECF No. 7016 at 3. These declarations shall (i) address whether the
         declarant shared with anyone any portion of the Al Jarrah deposition transcript
         (either by providing copies of any portion of the transcript, reading any portion of
         the transcript, or describing it); and (ii) identify and describe all communications
         with Michael Isikoff or anyone acting on his behalf, whether oral or written, from
         June 1, 2021, to August 1, 2021. Any written communication must be provided to
         the Court; and

      2. a declaration from the head of the law firm’s information technology group or
         other comparable figure describing the investigation that was undertaken in
         response to the breach of the Protective Order. That declaration should
         demonstrate that a forensic analysis was done to identify who accessed the
         deposition transcripts, determine the dates of any access, and assess whether
         anyone from the firm emailed either of the two known Isikoff email addresses
         (i.e., misikoff@yahoo-inc.com or misikoff@oath.com) or any other email
         addresses known to be associated with Isikoff. If the investigation revealed such
         emails sent or received between June 1, 2021, and August 1, 2021, those must be
         provided.

B. Other Entities

   The Court also directs the submission of declarations from:

      1. Golkow Litigation Services. The Court requests that counsel for Saudi Arabia
         facilitate the collection of declarations from Golkow as part of this investigation,
         which it has offered to do. ECF No. 6982 at 1. Counsel shall provide a copy of
         this Order to Golkow, collect the declarations from Golkow required by this
         Order, and file those declarations with the Court;

      2. Plaintiff Law Firms. The Plaintiffs’ Executive Committee shall identify every law
         firm that attended the Al Jarrah deposition on behalf of a plaintiff or any firm
         representing a plaintiff that otherwise had access to the deposition transcript,
         ensure that those firms receive a copy of this Order, and make a single filing
         consisting of all declarations submitted by any additional plaintiff law firms in
         response to this Order; and

      3. Defendant Law Firms: Counsel for Saudi Arabia shall identify any law firm that
         attended the Al Jarrah deposition on behalf of a defendant or any firm
         representing a defendant that otherwise had access, ensure that those firms receive
         a copy of this Order, and make a single filing consisting of all declarations
         submitted by defendant law firms in response to this Order.


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        Each entity shall submit a declaration(s) under penalty of perjury that provides:

           1. Whether anyone employed by or acting at the direction of that entity shared the Al
              Jarrah deposition transcript with Isikoff, anyone acting on his behalf, or anyone
              not authorized to receive the deposition under the terms of the Protective Orders;

           2. Whether anyone employed by or acting at the direction of that entity
              communicated with Isikoff or anyone acting on his behalf regarding the contents
              of the Al Jarrah deposition from June 1, 2021, to August 1, 2021. If
              communication took place, the substance of those communications must be
              described, and copies of any written communications must be provided to the
              Court; and

           3. What investigative steps were taken to investigate the breach of the Protective
              Orders.

        The submissions directed by the Court in this Order shall be provided by September 10,

2021.

SO ORDERED.




DATED:         New York, New York
               August 30, 2021




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